  Case 4:16-cv-00511-MW-CAS Document 198 Filed 10/04/21 Page 1 of 1
      USCA11 Case: 18-14096 Date Filed: 10/04/2021 Page: 1 of 1
              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                October 4, 2021


Clerk
United States Court of Appeals for the Eleventh
Circuit
56 Forsyth Street, N.W.
Atlanta, GA 30303


      Re: Reiyn Keohane
          v. Mark S. Inch, Secretary, Florida Department of Corrections
          No. 20-1553
          (Your No. 18-14096)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
